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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT BECKLEY

JOHN A. ROGERS, JR.

        Movant,

v.                                           CIVIL ACTION NO. 5:04-00842
                                       CRIMINAL ACTION NO. 5:03-00032-01
UNITED STATES OF AMERICA,

        Respondent.



                  MEMORANDUM OPINION AND JUDGMENT ORDER

        By Standing Order entered July 21, 2004, and filed in this

case on August 9, 2004, this action was referred to United States

Magistrate Judge R. Clarke VanDervort for submission of Proposed

Findings and Recommendation.         Magistrate Judge VanDervort

submitted his Proposed Findings and Recommendation on March 9,

2007.    (Doc. No. 183.)    In that Proposed Findings and

Recommendation, the magistrate judge recommended that this court

dismiss the movant’s motion under 28 U.S.C. § 2255 to Vacate, Set

Aside or Correct Sentence by a Person in Federal Custody.

        In accordance with the provisions of 28 U.S.C. § 636(b), the

parties were allotted ten days, plus three mailing days, in which

to file any objections to Magistrate Judge VanDervort’s Proposed

Findings and Recommendation.         No party has filed objections within

the requisite period, and the failure of any party to file such

objections constitutes a waiver of such party's right to a de novo
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review by this court.      Snyder v. Ridenour, 889 F.2d 1363, 1366

(4th Cir. 1989); Thomas v. Arn, 474 U.S. 140, 155 (1985).

        Having reviewed the Proposed Findings and Recommendation

filed by the magistrate judge, the court adopts the findings and

recommendations contained therein.         Accordingly, the court hereby

DENIES the movant’s motion under 28 U.S.C. § 2255 to Vacate, Set

Aside or Correct Sentence by a Person in Federal Custody (Doc. No.

164).

        The Clerk is directed to remove this matter from the court’s

active docket and to forward a certified copy of this written

Memorandum Opinion and Judgment Order to counsel of record.

        IT IS SO ORDERED this 30th day of March, 2007.

                                           ENTER:



                                       David A. Faber
                                       Chief Judge




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